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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                               4:17-CR-3123

vs.
                                                      MEMORANDUM AND ORDER
KAYLENE EDNA MAE STABLER,

                      Defendant.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on a Guilty Plea (filing 89) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts
the findings and recommendation of the Magistrate Judge.
       The Court notes that at the change of plea hearing (filing 101), the
Magistrate Judge did not inform the defendant of "the court's authority to
order restitution[.]" See Fed. R. Crim. P. 11(b)(1)(K). However, the Court
finds that the omission was harmless, because it did not affect the
defendant's substantial rights. See Rule 11(h). While the defendant was not
informed in open court about the Court's authority to order restitution, 1 the
petition to enter guilty plea establishes that the defendant was informed of
the possibility of restitution. Filing 88 at 4. The defendant indicated that she
had read each question of the petition, and that she answered each question


1 Restitution is mandatory in this case. See 18 U.S.C. § 3663A; see also United States v.


Benedict, 855 F.3d 880, 887 (8th Cir.), cert. denied sub nom. Carpenter v. United States, 138
S. Ct. 341 (2017), and cert. denied, 138 S. Ct. 348 (2017).
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before signing the petition. Filing 101 at 7-8. The defendant testified that all
of her answers in the petition were truthful. Filing 101 at 8.
      The Court also notes that the defendant was advised in court that each
of the two offenses to which she pled guilty carried a potential fine of up to
$250,000—amounts well in excess of the amounts alleged to have been taken
in the robberies with which the defendant was charged. Filing 101 at 6, 11;
see filing 1. The Eighth Circuit has held that the failure to advise a defendant
of the court's authority to order restitution is harmless where the defendant
is warned of a potential fine larger than the actual amount of restitution
ordered. United States v. Molzen, 382 F.3d 805, 806 (8th Cir. 2004).
      Having reviewed the record, the Court is persuaded that any omission
from the Rule 11 colloquy was harmless, as it did not affect the defendant's
substantial rights. See, United States v. Gillen, 449 F.3d 898, 903-04 (8th Cir.
2006); United States v. McCarthy, 97 F.3d 1562, 1574-76 (8th Cir. 1996);
United States v. Young, 927 F.2d 1060, 1061-63 (8th Cir. 1991). The
defendant's decision to plead guilty could not have been affected by the
Magistrate Judge's failure to tell the defendant what she already knew.
Young, 927 F.2d at 1063. The Court also notes that neither party has objected
to the findings and recommendation, meaning that any objection has been
waived. See Peretz v. United States, 501 U.S. 923, 936-39 (1991).


      IT IS ORDERED:

      1.    The Magistrate Judge's Findings and Recommendation on
            a Guilty Plea are adopted.




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     2.    The defendant is found guilty. The plea is accepted. The
           Court finds that the plea of guilty is knowing, intelligent,
           and voluntary, and that a factual basis exists for the plea.


     3.    This case shall proceed to sentencing.


     Dated this 5th day of April, 2018.

                                          BY THE COURT:


                                          John M. Gerrard
                                          United States District Judge




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